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 EXHIBIT 45
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                                                     09.14.2021
                                                      Scoggins

                                                            5
                                                  Buell Realtime Reporting
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NHSC Presentation August - 2021


SEATTLEE FIREE DEPT.
Response to protests
and CHAZ/CHOP
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              PROTESTS REMEMBERING GEORGE FLOYD

                    • Goals…
                     • Support peaceful demonstrations
                     • Focus of FF Safety
                     • Maintain Situational Awareness &
                       Comms
                     • Modify deployment as needed
                     • Be prepared for fires and uptick in
                       medical responses
                     • Upstaff resources accordingly, and call-
                       in partner agencies to help as needed
                     • Be transparent with community

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   PROTESTS:: RESPONSE
  • Activated Resource Management Center
    and sent personnel to Seattle Police Operations
    Center & Emergency Operations Center
  • Staffed additional apparatus
    to respond near protest locations
  • Called in strike teams from
    neighboring and state agencies
DATE:                 RESPONSES INTO THE "HOT ZONE"

5/30: SATURDAY        33 responses, including 8 vehicle fires

5/31: SUNDAY          22 responses

6/1: MONDAY           18 responses
                                                                               Seattle Times Photo
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Protestt Responsee Zonee (6/8)::
SPD
  D too Securee Area,, SPD D to o escortt
SFD.. E25 5 & L10:: Onlyy availablee to
                                      o
respond d to          n theirr 1st in
            o Firess in             n
District.

Protest Response Zone:
E Denny Way – E Union St
Broadway – 13th Ave
BLS: 1 Aid Car + 1 Engine + 1 BC
ALS: 1 Aid Car + 1 Medic + 1 Engine
+ 1 BC
Fires: 2 Engines + 1 BC + L10*
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6/9/2020
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                                                                     6/12/20
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            VOLUNTEER MEDICAL TEAM & MUTUAL AID: CHALLENGES


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Junee 20
       0
shooting:

• Arrives at hospital in private
vehicle, 19-year-old male,
fatality.
• Arrives at hospital in private
vehicle, 33-year-old male,
critical condition.
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June 21st & June 23rd shootings…
• 17-year-old male, serious                      • Approx. 30-year-old male, stable
  condition arrives at hospital in                 condition, arrives at hospital via
  private vehicle.                                 Seattle Fire medics.
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                                       Junee 29
                                              9 shooting:

                                       • Arrives via Seattle Fire medics, 16-year-old
                                       male, fatality.
                                       • Arrives at hospital in private vehicle, 14-year-
                                       old male, critical condition.
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SFD RESPONSES TO ALARMS WITHIN THE CHOP

 Civilians in the CHOP have been listening to
 SFD communications on SOV and other
 alarms in the CHOP. This is causing
 interference in these alarms, ranging from
 armed CHOP persons approaching and
 harassing SFD units at the staging area to
 vehicles (with patients) pursuing responding
 units aggressively and attempting to make
 them pull over.
 Additionally, the staging area for SPD is
 generally distal to the SFD staging area,
 resulting in SFD units staging between the
 people designated as our protection and
 the people they are to protect us from.
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SFD RESPONSES TO ALARMS WITHIN THE CHOP

 To that end, the following protocols will be in effect for EMS incidents that occur within the CHOP:
 1. All alarms located within the boundaries of the CHOP will be dispatched to 12 Ave E/E Pine Street. This
 location is the heart of the CHOP and will alert units dispatched that the alarm takes place within those
 boundaries. The staging location will not be mentioned on Channel 4, which is not encrypted.
 2. All alarms located within the boundaries of the CHOP will be dispatched on Zone 1/Channel 10. This is the
 only channel in the SFD radio template that is encrypted and cannot be monitored via civilian scanner.
 3. Units responding to alarms in the CHOP will respond to Bellevue Avenue between E Pine Street and E
 Olive Street and stage there until the scene is secure. This location is remote enough from the CHOP to
 avoid “walk ups” and puts the Police staging area (Harvard Avenue and E Pine Street) between SFD resources
 and the CHOP.
 4. The CCP (Casualty Collection Point) will be at Broadway and E Pine Street.
 5. Firefighters will don ballistic wear for all responses to alarms within the CHOP boundaries.
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6/29/2020
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6/29/2020
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                                         June 20 shooting:
                                         • Arrives at hospital in private vehicle, 19-year-
                                           old male, fatality.
                                         • Arrives at hospital in private vehicle, 33-year-
SIX PEOPLE                                 old male, critical condition.
                                         June 21 shooting:
SHOT: TWO                                • Arrives at hospital in private vehicle, 17-year-
                                           old male, serious condition.

FATALITIES,                              June 23 shooting:
                                         • Arrives via Seattle Fire medics, approx. 30-year-
                                           old male, stable condition.
FOUR INJURIES                            June 29 shooting:
                                         • Arrives via Seattle Fire medics, 16-year-old
                                           male, fatality.
                                         • Arrives at hospital in private vehicle, 14-year-
                                           old male, critical condition.
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      PROTESTS: COMMUNITY
      UPDATE

       • Be transparent with the community
       about our response efforts.
       • Shared significant updates on social
         media and sent out a notice to businesses on
         Friday via multiple methods
       • Stood alongside Mayor Durkan and Chief Best
         to give frequent press updates
       • Tracked responses closely to capture fire and
         medical emergencies in the "hot zone"


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                                                                     LESSONS LEARNED
                                                                      • We must be flexible - adjust policy's, dispatch
                                                                        protocols, daily operations as needed…
                                                                      • Leadership must be present - in community,
                                                                        at stations, on scene…
                                                                      • Organizational updates are critical - written,
                                                                        verbal, video…
                                                                      • City leadership communications/coordination
                                                                        is a must
                                                                      • Develop relationships – from community
                                                                        partners to protestors. Challenge the thinking
                                                                        that this is not the right place for us to be.
                                                                      • Must communicate with the impacted
                                                                        communities - business, residents…
                                                                      • Understand the role of social media -
                                                                        journalists, Facebook, Twitch, Twitter, live
                                                                        streams
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              AND THE WORK GOES ON

                    • West Seattle Bridge Closure
                    • SDOT closes West Seattle Bridge (upper) due to
                      accelerated cracking of concrete (March 23),
                      lower bridge traffic restricted to specific vehicles
                    • Announce addition two new units to West
                      Seattle (May 8) - Ladder 13, Medic 26 begin
                      service on June 1st.
                    • Budget
                    • Tax revenues drop
                    • Budget adjustments for 2020 and beyond
                    • Re-envisioning police services
                    • COVID-19
                    • We are still in a Pandemic…
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Questions…
“Seeds of faith are always
within us; sometimes it takes a
crisis to nourish and encourage
their growth.” – Susan Taylor
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THANK
    K YOU!


Questions
“Seeds of faith are always within us;
sometimes it takes a crisis to
nourish and encourage their
growth.” – Susan Taylor
